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            10       WHATSAPP INC. and FACEBOOK, INC.
            11
                                                   UNITED STATES DISTRICT COURT
            12
                                               NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
            15       and FACEBOOK, INC., a Delaware
                     corporation,                                  [PROPOSED] ORDER DENYING
            16                                                     DEFENDANTS’ MOTION FOR SANCTIONS
            17                       Plaintiffs,                   Hon. Phyllis J. Hamilton
            18             v.
            19       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
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                                     Defendants.
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                                                                                                 [PROPOSED] ORDER
  COOLEY LLP
ATTO RNEY S AT LAW                                             1                        CASE NO. 4:19-CV-07123-PJH
 SAN FRA NCI S CO
                          Case 4:19-cv-07123-PJH Document 39-3 Filed 03/23/20 Page 2 of 2



              1             Before the Court is Defendants NSO Group Technologies Ltd. and Q Cyber Technologies

              2      Ltd.’s Motion for Sanctions (ECF No. 28). The Court finds that neither Plaintiffs nor Plaintiffs’

              3      counsel in this litigation have engaged in conduct that warrants a sanction. Accordingly, Defendants’

              4      motion is DENIED.

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              6      IT IS SO ORDERED.
              7      Dated: _________________
              8                                                    Honorable Phyllis J. Hamilton
                                                                   United States Magistrate Judge
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  COOLEY LLP
                                                                                                        [PROPOSED] ORDER
ATTO RNEY S AT LAW                                                    2                        CASE NO. 4:19-CV-07123-PJH
 SAN FRA NCI S CO
